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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

DONALD J. TRUMP FOR
PRESIDENT, INC., e¢ al.,

Plaintiffs,

Civil Action No. 4:20-cv-02078-

v. MWB

KATHY BOOCKVAR, in her capacity
as Secretary of the Commonwealth of
Pennsylvania, et al.,

Judge Matthew W. Brann

Defendants.

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SECRETARY OF THE COMMONWEALTH KATHY BOOCKVAR’S
BRIEF IN OPPOSITION TO PLAINTIFES’
MOTION FOR PRELIMINARY INJUNCTION
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INTRODUCTION

Qualified Pennsylvania electors voted in record numbers in the November 3,
2020 general election for the presidential, state and local races. Pennsylvania
electors had the option to exercise their right to vote by mail or in-person thanks to
bi-partisan legislation passed by the Pennsylvania General Assembly and signed into
law by Governor Wolf. Secretary of the Commonwealth Kathy Boockvar and her
team worked with the Commonwealth’s 67 counties to run a free, fair and secure
election in the midst of a worldwide pandemic. The administration of the election
was an outstanding success. The counties will certify their results on Monday,
November 23, 2020.

In this motion, one candidate for one federal race that was on the ballot —
among hundreds of races across the Commonwealth—comes to this federal court
and asks for an order enjoining the certification of the Presidential contest in
Pennsylvania. The candidate then goes so far to ask this federal court to “simply
declare Trump the winner” rather than his opponent who received more votes. Pls.’
Supp. Br. (ECF No. 183) at 2. The relief Plaintiffs seek is unsupported in fact,
deficient on the law and simply outrageous. It has no support in law, evidence or
precedent. Plaintiffs’ motion does not even try to meet the exacting standards

required for injunctive relief on the law or the facts.
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In Pennsylvania—and across America—the people vote, the votes are
counted, the counts are certified and then the winners take office. Plaintiffs seek
another route and, in furtherance of their assault on Pennsylvania law, request a
temporary restraining order and preliminary injunction preventing Secretary
Boockvar and select counties from certifying the results of the election and an order
imposing a process for their inspection of voted ballots “to determine if the statutory
requirements are met.” Jd. at 1. There is no legal or factual basis to not count valid
votes cast by qualified electors and no authority to enjoin certification of the
Commonwealth’s election results. Plaintiffs have not alleged a plausible claim for
relief and certainly have not established a right to a preliminary injunction
preventing election officials from fulfilling their statutory obligations. Their motion
for preliminary injunction must be denied.

I. Plaintiffs Lack Standing and Therefore This Court Lacks Jurisdiction To
Consider Plaintiffs’ Motion.

Plaintiffs have not alleged a concrete, particularized and non-speculative
injury and therefore this action must be dismissed for lack of jurisdiction without
even reaching Plaintiffs’ request for a preliminary injunction.

To establish Article III standing, an injury must be concrete, particularized
and actual or imminent, fairly traceable to the challenged action and redressable by
a favorable ruling. Clapper v. Amnesty Int'l. USA, 568 U.S. 398, 409 (2013)

(citations and internal quotation marks omitted). Because standing is a fundamental

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jurisdictional question, challenges to standing must be addressed before reaching the
merits. AT&T Commes. of New Jersey, Inc. v. Verizon New Jersey, Inc., 270 F.3d
162, 168 (3d Cir. 2001).

In Bognet v. Secretary of the Commonwealth of Pa., --- F.3d ---, 2020 WL
6686120 (3d. Cir. Nov. 13, 2020), the U.S. Court of Appeals for the Third Circuit
held that voters and political candidates lack standing to pursue an Equal Protection
claim alleging that state officials counted ballots in violation of state election law.
Bognet is on all fours and compels the conclusion that this action cannot proceed
due to lack of standing.

Plaintiffs’ Equal Protection claim! relies on the same theories rejected in
Bognet—that votes were “unconstitutionally diluted” by counting ballots cast in
violation of the Election Code, Am. Compl. §§ 97, 102, and that differences between
county notice procedures amounted to “arbitrary and disparate treatment” where
some votes were allegedly valued over others, id. J§ 8, 95, 97, 152, 154. With

respect to the former, Bognet makes clear that “[t]his conceptualization of vote

 

' Plaintiffs concede that, in light of Bognet, they do not have standing to assert a
claim under the Electors or Elections Clauses, Pls.’ Resp. to Notice of Suppl. Auth.
(ECF No. 124) at 1, and that they included an Electors and Elections claim in their
Amended Complaint (ECF No. 125) merely “to preserve it for appellate review,”
Pls.’ Br. in Opp’n to Mot. To Dismiss (ECF No. 126) at 2:n.1. The only other claim
alleged in the Amended Complaint is a claim under the Equal Protection Clause.
Am. Compl. {J 150-60.
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dilution—state actors counting ballots in violation of state election law—is not a
concrete harm under the Equal Protection Clause of the Fourteenth Amendment.”
2020 WL 6686120, at *11. The Third Circuit explained, “if dilution of lawfully cast
ballots by the unlawful counting of invalidly cast ballots were a true equal-protection
problem, then it would transform every violation of state election law . . . into a
potential federal equal-protection claim ... That is not how the Equal Protection
Clause works.” Jd. (citation and internal quotation marks omitted).

Nor is such a claim sufficiently particularized to confer standing under Article
Il. To the contrary, Bognet holds that “[a] vote . . . counted illegally [] has a
mathematical impact on the final tally and thus on the proportional effect of every
vote, but no single voter is specifically disadvantaged. Such an alleged dilution is
suffered equally by all voters and is not particularized for standing purposes.” Jd. at
*12 (citations and internal quotation marks omitted). For either of these independent
reasons, Plaintiffs lack standing to pursue their vote dilution claim.

Plaintiffs are also without standing to allege injury in the form of disparate
treatment. Affording voters in one county additional voting opportunities not
available to voters in another county is not an injury in fact for purposes of the Equal
Protection Clause because the votes that are cast are weighed the same. Again, there
is no vote dilution in these circumstances. Jd. a *15. Furthermore, “a private citizen

lacks a judicially cognizable interest in the prosecution or nonprosecution of
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another” and therefore the individual Plaintiffs are without standing to complain that
other counties transgressed the election laws but theirs did not. Jd. at *16 (citations
omitted).

The Trump Campaign lacks standing for these and other reasons. Like the
candidate in Bognet, the Trump Campaign cannot “plead a cognizable injury by...
pointing to a ‘threatened’ reduction in the competitiveness of his election from
counting [allegedly improper] ballots.” Jd. at *8. The campaign does not and cannot
explain how counting more timely votes cast by qualified electors would lead to a
less competitive race. This is fatal under Bognet. And allowing additional valid
ballots to be counted would not affect the Trump Campaign “in a particularized way
when, in fact, all candidates in Pennsylvania, including [Trump’s] opponent, are
subject to the same rules.” Jd.; see also Pa. Voters Alliance v. Centre Cnty., No.
4:20-CV-01761, 2020 WL 6158309, at *5 (M.D. Pa. Oct. 21, 2020) (allegation that
grants will lead to increased voter turnout that will advantage political opponents is
“precisely the kind of undifferentiated, generalized grievance about the conduct of
government that the Supreme Court has refused to countenance in the past”). As
with the individual voter Plaintiffs, Bognet requires the conclusion that the Trump
Campaign lacks standing.

Straightforward application of Bognet requires dismissal of Plaintiffs’ claim.

Plaintiffs offer nothing to support a different result. They point out that the
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individual voter Plaintiffs’ ballots were rejected, but this is not the basis for the equal
protection claim in the Amended Complaint. Their claim is that defective ballots
cast by Mr. Henry and Mr. Roberts were properly rejected, not that they should have
been counted. See, e.g., Am. Compl. § 158. Their theory is vote dilution, not vote
denial, and as a result their claim is foreclosed by Bognet. The Trump Campaign
argues “competitive standing,” Pls.’ Br. in Opp’n to Mot. To Dismiss (ECF No. 170)
at 11, but does not and cannot allege a cognizable competitive injury. As in Bognet,
counting more votes timely cast by qualified electors does not lead to a less
competitive race. 2020 WL 6686120, at *8. Moreover, the procedures at issue—
notifying voters that their ballots had been rejected and affording an opportunity to
cast provisional ballots or otherwise cure ballot defect—were available to all
counties and both major political parties communicated with voters about their
voting options. Am. Compl. § 129; Am. Mot. for TRO or Prelim. Inj. (ECF No.
182), Exs. 12 & 15. There was no preferential treatment and there is no cognizable
equal protection injury. And, finally, the Trump Campaign does not allege that the
limited number of ballots that were allegedly “cured” and subsequently counted
were “sufficient in number to change the outcome of the election” to President
Trump’s advantage. Bognet, 2020 WL 6686120, at *8.

Bognet leaves no question that Plaintiffs lack standing to bring their equal

protection claim. As Chief Judge Smith explained: “[W]hen voters cast their ballots
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under a state’s facially lawful election rule and in accordance with instructions from
the state’s election officials, private citizens lack Article HII standing to enjoin the
counting of those ballots on the grounds that the source of the rule was the wrong
state organ or that doing so dilutes their votes or constitutes differential treatment of
voters in violation of the Equal Protection Clause.” Jd. at *18. Plaintiffs lack
standing and, as a result, their motion for preliminary injunction must be denied.
Brennan vy. William Patterson Coll., 492 F. App’x 258, 262 (3d Cir. 2012) (“A
plaintiff must have Article IIT standing to seek a preliminary injunction and if he
does not have such standing we are without jurisdiction. .. .”).

II. This Court Lacks Jurisdiction Under Rooker-Feldman.

Even if Plaintiffs had standing, this Court lacks jurisdiction under Rooker-
Feldman. The state law issues presented here have already been litigated and
decided adverse to Plaintiffs in state courts and Rooker-Feldman deprives this Court
of jurisdiction to entertain collateral attacks on those rulings.

The Rooker-Feldman doctrine bars federal jurisdiction if the claim was
“actually litigated” in state court or if the claim is “inextricably intertwined” with
the state adjudication. J7T Corp. v. Intelnet Int’l, 366 F.3d 205, 210 (3d Cir. 2004)
(citation omitted). “Ifthe relief requested in the federal action requires determining
that the state court’s decision is wrong or would void the state court’s ruling, then

the issues are inextricably intertwined and the district court has no subject matter
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jurisdiction to hear the suit.” Jd. at 211 (citations and internal quotation marks
omitted).

Here, Pennsylvania courts have rejected the Trump Campaign’s challenge to
the practice which Plaintiffs allege violates the Equal Protection Clause—notifying
voters whose ballots were defective and providing then the opportunity to vote
provisionally. Am. Compl. § 6. And with good reason. The Election Code
specifically authorizes mail-in voters to vote by provisional ballot if their mail-in
ballots are rejected. 25 P.S. § 3150.16(b)(2). That section states: “An elector who
requests a mail-in ballot and who is not shown on the district register as having voted

may vote by provisional ballot under [25 P.S. § 3050].” Id.

 

* Contrary to Plaintiffs’ argument, Pls.’ Supp. Br. at 4, 8-9, neither the Election
Code nor the Pennsylvania Supreme Court’s decision in Pa. Democratic Party v.
Boockvar bars county election boards from providing notice to voters when their
mail in ballots are rejected. The issue in that case was whether counties are required
to notify electors of “minor facial defects” and afford them an opportunity to cure
defects within a week after the election. Pa. Democratic Party v. Boockvar, 238
A.3d 345, 372 (Pa. 2020). The Supreme Court ruled that county boards “are not
required to implement a ‘notice and opportunity to cure’ procedure... .” Id. at 374
(emphasis added). The Court did not and could not foreclose counties from
exercising the discretion afforded by the Election Code to conduct elections as they
see fit, including by making and issuing rules, regulations and instructions for the
guidance of elections officers and electors. 25 P.S. §§ 2641(a), 2642(f). Plaintiffs
are also wrong in positing that identifying voters whose ballots are rejected violates
a secrecy obligation in 25 P.S. § 3146.8. Pls.’ Supp. Br. at 17-18. That provision
prohibits observers from disclosing “the results” of the pre-canvassing—in other
words, vote tallies. The identity of voters who requested mail-in ballots and the
disposition of those ballots are matters of public record. See, e.g.,25 P.S. § 3146.2c.

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Given this express provision in the Election Code, it is not surprising that the
Courts of Common Pleas of Bucks and Philadelphia Counties rejected the Trump
Campaign’s contention that notice to voters was not permitted. See Order, In re
General Election Pre-Canvas, No. 7501 (Pa. Ct. Com. Pl. Phil. Cty. Nov. 3, 2020);
see also Order, Donald J. Trump for President, Inc. v. Bucks Cty. Bd. Of Elections,

No. 2020-05627 (Pa. Ct. Com. PI. Bucks Cty. Nov. 3, 2020).* No appeal was taken

from these Orders which are now final.

Similarly, in the Philadelphia County Court of Common Pleas, the Trump
Campaign asserted a challenge to specific ballots, arguing that the ballots failed to
conform to requirements in the Election Code and should not have been counted.
This is the same allegation advanced in the Amended Complaint. Am. Compl. §
158. The Philadelphia County Court of Common Pleas rejected the Trump
Campaign’s arguments and directed that the challenged ballots must be counted. On
November 18, 2020, the Pennsylvania Supreme Court granted an application for

extraordinary jurisdiction in the matter and ordered expedited briefing. Jn re:

 

The Bucks and Philadelphia County Courts of Common Pleas correctly ruled that
there was no violation of the Election Code.

3 The referenced Orders are attached collectively as Exhibit “B.”
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Canvass of Absentee and Mail-In Ballots of Nov. 3, 2020 Gen. Election, Nos. 89-93
EM 2020 (Nov. 18, 2020).!

The issues framed by the Amended Complaint—whether the Election Code
permits notice to voters whose ballots were rejected and an opportunity to cast a
provisional ballot and whether ballot defects were improperly overlooked—have
already been litigated in state court and Plaintiffs cannot seek to relitigate those same
issues here.> This Court lacks subject matter jurisdiction over Plaintiffs’ collateral

attacks under Rooker-Feldman and is without authority to enter a preliminary

 

4 The referenced Orders are attached collectively as Exhibit “C.”

5 While not before the Court, it bears noting that Plaintiffs fully litigated their
claim that they were denied access to ballot canvassing. See in re Canvassing
Observation Appeal, --- A.3d ---, 2020 WL 6737895 (Pa. Nov. 17, 2020). In that
case, the Supreme Court held that the Election Code does not specify minimum
distance parameters for the location of representatives during canvassing and that
the county election board’s restrictions in that case were reasonable. Jd. at *9.
Contrary to Plaintiffs’ suggestion, Pls.’ Supp. Br. at 11. This determination is final
and not subject to further review in this or any federal court. Recognizing the
preclusive effect of that ruling, Plaintiffs instead mischaracterize the Pennsylvania
Supreme Court’s decision in In re November 3, 2020 Gen. Election, --- A.3d ---,
2020 WL 6252803 (Pa. Oct. 23, 2020). That case did not “sua sponte declare[]” that
a statutory provision on election day challenges “was invalid.” Pls.’ Supp. Br. at 11.
That case initiated with an application for exercise of extraordinary jurisdiction, was
decided after full briefing and held that county boards of elections are not permitted
under the Election Code to reject mail in ballots based on signature comparison or
as the result of third-party challenges. 2020 WL 6252803, *14. In so ruling, the
Court observed that, “in 2020, the legislature eliminated the time-of-canvassing
challenges entirely” from the Election Code. Jd. The General Assembly, not the
Supreme Court, removed any opportunity for candidates to challenge mail-in ballots.

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injunction. Conklin v. Anthou, No. 1:10-CV-2501, 2012 WL 124989, at *2-3 (M.D.
Pa. Jan. 17, 2012).

Ill. Plaintiffs Have Not Satisfied Any of the Requirements for Preliminary
Injunctive Relief.

Even if Plaintiffs were able to overcome these threshold jurisdictional defects,
their motion must nonetheless be denied because they have not satisfied any of the
requirements necessary for an injunction, and certainly not for the radical remedy
they seek.

Four factors are considered in determining whether to grant a preliminary
injunction®: (1) whether the movant has a reasonable probability of eventual success
in the litigation; (2) whether the movant will be irreparably harmed if relief is not
granted; (3) the possibility of harm to other interested persons from the grant or
denial of the injunction; and (4) the public interest. Reilly v. City of Harrisburg, 858
F.3d 173, 176 (Gd Cir. 2017) (citation omitted). The two “most critical” factors are
probability of success on the merits and irreparable harm. Jd. at 179. To establish a

reasonable probability of success, the movant must demonstrate that “it can win on

 

6 Although they waited until ten days after initiating this action to file the instant
motion for preliminary injunction, Plaintiffs style their motion as a “Motion for
Temporary Restraining Order and Preliminary Injunction.” The standard applicable
to a motion for temporary restraining order is the same as the standard for a
preliminary injunction. Benner v. Wolf, 461 F. Supp. 3d 154, 160 (M.D. Pa. 2020).
Plaintiffs fail to establish a right to either form of relief.

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the merits,” which requires a showing that is “significantly better than negligible but
not necessarily more likely than not.” Jd. The movant must also establish that he is
“more likely than not” to suffer irreparable harm absent the requested relief. Jd. If
the first two “gateway factors” are satisfied, the district court proceeds to consider
the third and fourth factors and to “determine[] in its sound discretion if all four
factors, taken together, balance in favor of granting the requested preliminary relief.”
Id. at 178-79.’

“TA] preliminary injunction is an extraordinary and drastic remedy, one that
should not be granted unless the movant, by a clear showing, carries the burden of
persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (emphasis in
original). Plaintiffs fall far short of the required clear showing.

A. Plaintiffs Have No Reasonable Probability of Success.

Plaintiffs concede that they are foreclosed by Bognet from pursuing their

claim under the Electors and Elections Clauses. Am. Compl. ff 161-70. Their only

 

7 Plaintiffs urge the Court ignore the public interest altogether, advocating that
either a showing of likelihood of success or irreparable injury will suffice for
preliminary injunctive relief. Pls.’ Supp. Br. at 13. This is not a correct statement
of the law. The Third Circuit made clear in Reilly that district courts may grant a
preliminary injunction only “if all four factors, taken together, balance in favor of
granting the requested preliminary relief.” 858 F.3d at 179. Plaintiffs cannot bypass
the public interest in their desperate drive to disenfranchise Pennsylvania voters.

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remaining® claim is the equal protection claim in Count I. Jd. f¥ 150-60. Plaintiffs
cannot prevail on that claim for a host of reasons. Secretary Boockvar detailed the
many flaws in Plaintiffs’ Equal Protection claim in her motion to dismiss briefing
and summarize those arguments here.

First, the Amended Complaint fails to allege a violation of the Equal
Protection Clause. Plaintiffs’ essential gripe is that state election laws were not
uniformly enforced across the Commonwealth. Am. Compl. § 157. This is simply
not an equal protection violation. It is settled that “[t]he unlawful administration by
state officers of a state statute fair on its face, resulting in its unequal application to
those who are entitled to be treated alike, is not a denial of equal protection unless
there is shown to be present in it an element of intentional or purposeful
discrimination.” Snowden v. Hughes, 321 U.S. 1, 8 (1944). The Third Circuit
reaffirmed as much in Bognet, holding that “state actors counting ballots in violation
of state election law [] is not a concrete harm under the Equal Protection Clause of
the Fourteenth Amendment.” Bognet, 2020 WL 6686120 at *11; see also id. at *6

(“[flederal courts are not venues for plaintiffs to assert a bare right to have the

 

8 Unencumbered by the operative Amended Complaint, Plaintiffs litter their

brief with references to an alleged due process violation. See, e.g., Pls.’ Opp’n Br.
at 6, 11, 12, 15, 20, 21, 23. No such claim appears in the Amended Complaint. Even
if Plaintiffs were able to establish a due process violation—and they cannot—unpled
theories cannot form the basis for preliminary injunctive relief. See Martin v. Keitel,
205 F. App’x 925, 929 (3d Cir. 2006) (denying request for injunctive relief “targeted
at potential conduct that bears no relation to [plaintiff's] underlying claim”).

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Government act in accordance with law”). Plaintiffs have not alleged and cannot
prove intentional discrimination by any election official and their Equal Protection
claim necessarily fails as a result.’

Plaintiffs suggest that any variation in county election procedures constitutes
an equal protection violation under Bush v. Gore, 531 U.S. 98 (2000), Pls.’ Supp.
Br. at 5, but that is not a fair reading of that case. Bush v. Gore is not a magical “get
out of defeat free card” that justifies disenfranchising millions of Pennsylvania

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voters.'!° To the contrary, that decision was expressly “limited to [its] present

 

? Tn their papers, Plaintiffs accuse election officials of a broad conspiracy against
Republican voters and candidates, see, e.g., Pls.’ Supp. Br. at 4-5, but they included
no such claim in the Amended Complaint. Nor can they credibly allege
discrimination. All counties received the same email notice recommending that
notice be given when ballots were rejected. Am. Compl. § 129. All county election
boards possessed the same jurisdiction and authority under the Election Code to
manage election procedures in their counites. 25 P.S. §§ 2641, 2642. Further, the
attachments to Plaintiffs’ filing confirm that Republican and Democratic candidates
and/or campaigns reached out to voters who cast rejected ballots to inform them of
the opportunity to vote by provisional ballot on election day. See Hetak Decl. { 6;
Murray Decl. J{ 4-7. Plaintiffs’ unsupported accusations of discrimination—not
plead in the Amended Complaint and contradicted by its other filing—do not support
or in any way suggest an equal protection violation.

10 Plaintiffs also cite Bush v. Gore as support for the proposition that a federal
court “may independently interpret Pennsylvania law and not sustain’—in other
words, may reverse—decisions of the Pennsylvania Supreme Court interpreting the
Pennsylvania Election Code. Pls.’ Supp. Br. at 12. This is not a correct statement
of the law. Plaintiffs’ citation is actually to Chief Justice Rehnquist’s concurring
opinion in support of the Court’s decision on the merits. See Bush v. Gore, 531 US.
98, 112-22 (2000). Justice Rehnquist’s concurring opinion, which was joined by
Justice Scalia and Justice Thomas, does not reflect the views of a majority of the
Justices and is not binding Supreme Court precedent. It merely reflects the personal

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circumstances” and those circumstances are not in any way analogous to the equal
protection claim the Plaintiffs are trying to bring here. In Bush v. Gore, the Court
was concerned with a state court order compelling a manual recount of votes without
a uniform standard that led to some votes being weighed differently than others. 531
U.S. at 103. Here, there is no claim that votes were weighed differently. Plaintiffs
allege that counties implemented different procedures that afforded some voters
more opportunities to vote, but all votes were weighed the same. As Judge Ranjan
correctly concluded in Donald J. Trump for President, Inc. v. Boockvar, 2020 WL
5997680, at *41-46 (W.D. Pa. Oct. 10, 2020), that makes the alleged harm in this
case “categorically different from the harm at issue in Bush.” Moreover, the
Supreme Court made clear that its decision in Bush v. Gore was based on differences
in the treatment of votes, not differences in county election procedures. Id. at *43.
The Supreme Court emphasized that it was not addressing “whether local entities,
in the expertise, may develop different systems for implementing elections.” 531

U.S. at 109."

 

opinions of those justices. The Supreme Court has consistently held that “the highest
court of the state is the final arbiter of what is state law. When it has spoken, its
pronouncement is to be accepted by federal courts as defining state law... .” West
v. Am. Tel & Tel. Co., 311 U.S. 223, 236 (1940). Accordingly, federal courts cannot
second-guess or reverse Pennsylvania state court decisions on what the Election
Code means.

‘1 Tn their papers, Plaintiffs accuse election officials of a broad conspiracy
against Republican voters and candidates, see, e.g., Pls.’ Supp. Br. at 4-5, but they
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Plaintiffs’ Equal Protection theory necessarily fails because variation in
county election procedures is permissible. “[C]ounties may, consistent with equal
protection, employ entirely different election procedures and voting systems within
asingle state.” Boockvar, 2020 WL 5997680, at *44-45 (citing cases); see also, e.g.,
Ne. Ohio Coal. for the Homeless v. Husted, 837 F.3d 612, 635-36 (6th Cir. 2016)
(rejecting equal protection challenge even where “plaintiffs presented uncontested
evidence that, in determining whether to reject a given ballot, the practices of boards
of elections can vary, and sometimes considerably”); Wexler v. Anderson, 452 F.3d
1226, 1231-33 (11th Cir. 2006) (“Plaintiffs do not contend that equal protection
requires a state to employ a single kind of voting system throughout the state.
Indeed, local variety in voting systems can be justified by concerns about cost, the
potential value of innovation, and so on.”). As Judge Ranjan noted, “[e]qual
protection does not demand the imposition of ‘mechanical compartments of law all

exactly alike.” Boockvar, 2020 WL 5997680, at *45 (quoting Jackman v.

 

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Murray Decl. {§ 4-7. Plaintiffs’ unsupported accusations of discrimination—not
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or in any way suggest an equal protection violation.

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Rosenbaum Co., 260 U.S. 22, 31 (1922)). The fact that some counties implemented
mail-in voting in a manner that offered a cure mechanism to assist voters and others
did not does not create an Equal Protection Clause violation. See Trump v. Bullock,
--- F.3d ----, 2020 WL 5810556, at *14 (D. Mont. Sept. 30, 2020) (“[FJew (if any)
electoral systems could survive constitutional scrutiny if the use of different voting
mechanisms by counties offended the Equal Protection Clause.”).

Second, the Amended Complaint fails to allege any burden on the right to
vote. Allowing voters to cast provisional ballots or cure ballot defects did not
prevent anyone from voting or in any way burden anyone’s right to vote. Instead,
such procedures made voting easier. This is not an Equal Protection violation. See
Short v. Brown, 893 F.3d 671 (9th Cir. 2018) (affirming denial of preliminary
injunction for alleged Equal Protection violation where some California counties
automatically mailed ballots to registered voters and other counties did not); see also
Tex. League of United Latin Am. Citizens v. Hughs, 978 F.3d 136, 145 (Sth Cir.
2020) (finding it a “mystery” how the “expansion of voting opportunities burdens
anyone’s right to vote”); Boockvar, 2020 WL 5997680, at *41-43 (holding that
counties’ differential use of drop boxes did not give rise to equal protection violation
because there was no burden on right to vote); Paher v. Cegavske, 2020 WL

2748301, at *9 (D. Nev. May 27, 2020) (rejecting equal protection challenge to plan

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that “ma[d]e it easier or more convenient to vote in [one] County, but [did] not have
any adverse effects on the ability of voters in other counties to vote”).

Third, there is no doubt that the counties had a rational basis for notifying
voters and allowing them to cast provisional ballots." The “longstanding and
overriding policy” in the Commonwealth of Pennsylvania is to “protect the elective
franchise.” Shambach v. Bickhart, 845 A.2d 793, 798 (Pa. 2004). The Pennsylvania
Supreme Court has repeatedly directed that “ballots containing minor irregularities
should only be stricken for compelling reasons.” Id.; see also In re Gen. Election
Nov. 6, 1971, 296 A.2d 782, 784 (Pa. 1972); In re Petitions to Open Ballot Boxes,
188 A.2d 254, 256 (Pa. 1963). The “goal must be to enfranchise and not to
disenfranchise.” In re Luzerne County Returns Bd., 290 A.2d 108, 109 (Pa. 1972).
Providing notice to voters when their ballots are rejected and an opportunity to cast
a provisional ballot or otherwise cure defects is most certainly rationally related to
this legitimate and important state interest. Accordingly, Plaintiffs cannot prevail
under the Anderson-Burdick framework. Because no fundamental right was
burdened and there was a rational basis for providing notice and cure options, there

is no constitutional violation.

 

2 Even after it was brought to their attention, ECF No. 176 at n.2, Plaintiffs
continue to falsely accuse Secretary Boockvar of “advocat|ing that] state officials
should count more mail ballots than the law allows.” Pls.’ Supp. Br. at 9. That
Plaintiffs continue this practice of knowingly making material false representations
should concern this Court.

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Fourth, for a host of reasons, federal intervention by way of injunctive relief
is inappropriate. Plaintiffs have failed to pursue available state remedies, including
an election contest. 25 P.S. §§ 3456-3473. Moreover, their request for a preliminary
injunction is not tailored to their Amended Complaint, but instead would
unconstitutionally disenfranchise millions of voters. See Monsanto Co. vy. Geertson
Seed Farms, 561 U.S. 139, 165-66 (2010) (“Ifa less drastic remedy . . . was sufficient
to redress respondents’ injury, no recourse to the additional and extraordinary relief
of an injunction was warranted.”) (citations omitted); see also Perles v. Cty. Return
Bd. of Northumberland Cty., 415 Pa. 154, 159 (1964) (“The power to throw out a
ballot for minor irregularities, like the power to throw out the entire poll of an
election district for irregularities, must be exercised very sparingly and with the idea
in mind that either an individual voter or a group of voters are not to be disfranchised
at an election except for compelling reasons.”); Pa. Democratic Party, 238 A.3d at
361 (“[I]t is well-settled that, although election laws must be strictly construed to
prevent fraud, they ordinarily will be construed liberally in favor of the right to vote
... to enfranchise and not to disenfranchise the electorate.”) (citation and internal
punctuation marks omitted); Pileggi v. Aichele, 843 F. Supp. 2d 584, 596 (E.D. Pa.
2012) (declining to issue a temporary restraining order in an election case when
doing so would mean that “Pennsylvania voters could be disenfranchised”). Courts

in other states have rejected similar efforts by the Trump Campaign to enjoin the

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certification process, concluding that it would be an “unprecedented exercise of
judicial activism.” Opinion & Order 11 in Costantino v. City of Detroit, No. 20-
014780-AW (Mich. 3d Judicial Cir. Ct. Nov. 13, 2020) (Ex. A.)

Plaintiffs have not shown a likelihood that they will prevail on the merits and,
for this reason alone, they are not entitled to preliminary injunctive relief.

B. Plaintiffs Failed To Establish Immediate and Irreparable Harm.

Plaintiffs have also failed to show that they are likely to suffer irreparable
harm in the absence of a preliminary injunction. As demonstrated above, they do
not allege any recognizable legal harm, let alone irreparable harm. The individual
voter Plaintiffs suffered no injury at all—they contend their votes were properly
rejected. Am. Compl. § 158. Their only pretense of injury—that votes in other
counties were purportedly counted in violation of state law—is not a cognizable
harm under the Equal Protection Clause. Bognet, 2020 WL 6686120, at *11. Nor
can the Trump Campaign purport to claim competitive harm given that all candidates
were subject to the same county procedures and because counting more timely votes

from qualified electors does not result in a less competitive race. Id. at *8. Plaintiffs

 

* As Chief Justice Saylor aptly recognized in his dissenting opinion in the poll
observer case, “short of demonstrated fraud, the notion that presumptively valid
ballots cast by the Pennsylvania electorate would be disregarded based on isolated
procedural irregularities that have been redressed—thus disenfranchising potentially
thousands of voters—is misguided.” In re Canvassing Observation Appeal, --- A.3d

---, 2020 WL 6737895, at *9 (Pa. Nov. 13, 2020) (Saylor, C.J., dissenting).
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simply do not allege any recognizable legal harm and therefore cannot demonstrate
irreparable harm. Republican Party of Pa. v. Cortes, 218 F. Supp. 3d 396, 405 (E.D.
Pa. 2016) (“Without some showing of a recognizable legal harm, the Plaintiffs
cannot demonstrate irreparable harm.”).

Moreover, any claim of emergency is of Plaintiffs’ own making. The Trump
Campaign was aware of counties providing notice to voters whose ballots were
rejected and an opportunity to cast a provisional ballot as early as election day, as
evidenced by the proceedings initiated in Bucks and Philadelphia Counties, but they
delayed until November 9 before filing this action and until November 19 before
filing the operative motion for preliminary injunction. Their own delay confirms
there is no risk of irreparable harm and provides ample grounds to deny emergency
injunctive relief. Stein v. Cortes, 223 F. Supp. 3d at 437 (“Plaintiffs are not entitled
to the ‘emergency’ relief they seek because they have inexcusably waited well past
the eleventh hour to seek it.”); Rep. Party of Pa. v. Cortes, 218 F. Supp. 3d at 410
(denying preliminary injunction based, in part, on finding that “[t]here was no need
for this judicial fire drill’).

In addition, Plaintiffs’ theory of harm is purely speculative. They do not and
cannot allege that provisional ballots or “cured” ballots were cast in sufficient
number to change the outcome of the election, let alone that that those ballots favored

President Trump’s challenger. Instead, they admit they do not know “if the statutory

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requirements were met” and “whether [they] can prove their case” and, for this
reason, they are seeking broad discovery so that their “statistical expert” can develop
an opinion as to whether the outcome of the election might have been different. Pls.’
Supp. Br. at 1-2. Plaintiffs have the cart before the horse, and the horse is dead.
They have not demonstrated that any ballot was improperly counted and they have
not made the “clear showing of immediate irreparable injury” necessary for
preliminary injunctive relief. ECRI-McGraw Hill, Inc., 809 F.2d 223, 226 (3d Cir.
1987) (quoting Cont’l Grp., Inc. v. Amoco Chems. Corp., 614 F.2d 351, 359 (3d Cir.
1980)).

C. The Equities and Public Interest Weigh Against Injunctive Relief.

In balancing the relative harms, a district court must weigh “the potential
injury to the plaintiff if an injunction does not issue versus the potential injury to the
defendant if the injunction is issued.” Novartis Consumer Health, Inc. v. Johnson
& Johnson-Merck Consumer, 290 F.3d 578, 596 (3d Cir. 2002) (citation omitted).
The equities and public interest factors merge where the government is a party.
Niken v. Holder, 556 U.S. 418, 435 (2009). These merged factors weigh
overwhelmingly against preliminary relief.

As demonstrated above, Plaintiffs will suffer no harm at all in the absence of
injunctive relief. They allege that the individual voter Plaintiffs’ ballots were

properly rejected, Am. Compl. J 158, and they presented no evidence suggesting

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that the outcome of the election would have been different but for counties’ different
utilization of notice and cure procedures. By contrast, Pennsylvanians will suffer
irreparable harm to their most cherished right if the Court grants Plaintiffs’ request
for an order enjoining certification of the election results. The relief sought would
deprive Pennsylvanians of the right to have their votes counted in violation of the
United States and Pennsylvania Constitutions. Reynolds v. Sims, 377 U.S. 533, 554
(1964) (“[Q]ualified voters have a constitutionally protected right . . . to have their
votes counted.”); Banfield v. Cortes, 922 A.2d 36, 48 (Pa. Cmwlth. 2007) (“Electors
have a right under Article I, Section 5 of the Pennsylvania Constitution to have their
votes honestly counted... .”). “No right is more precious in a free county than that
of having a voice in the election of those who make the laws under which, as good
citizens, we must live.” Burson v. Freeman, 504 U.S. 191, 199 (1992) (internal
citation and quotation omitted). Denying the effect of those votes, even for a brief
instant, is antithetical to the public interest.

Importantly, Plaintiffs are no longer seeking to enjoin certification of the
results of any race in the Commonwealth other than the Presidential race. Pls.’ Supp.
Br. at 1. This late change in strategy exposes what we already know: Plaintiffs do
not credibly believe that Republican voters (or any other voters) were disadvantaged
as a result of different county procedures concerning notice to voters whose ballots

were defective. If Plaintiffs really believed that such differences were “intended to

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have ...a partisan effect,” id. at 5, they would be seeking to enjoin certification of
all election results. They reframed their request because they know they cannot
establish intentional discrimination by any elected official against any political
party. In fact, the Republican candidates won the statewide races for Auditor
General and State Treasurer and many other down ballot races. There is no basis to
question the election results.

The equities and the public interest are conclusive and require denial of
Plaintiffs’ motion for a preliminary injunction.

D. ‘Plaintiffs Have Not Established a Clear Right to a Preliminary
Injunction.

Plaintiffs have not established that they can win on the merits, that they are
likely to suffer irreparable harm in the absence of an injunction or that the equities
or public interest favor disregarding the will of the electorate. They have not
identified a single vote that was improperly counted. Nor have they identified a
viable legal theory to justify their stunning request to enjoin Secretary Boockvar
from fulfilling her statutory obligations and abrogate the right of 6.8 million
Pennsylvanians to select their President and Vice-President. There is no legal or
factual support for Plaintiffs’ outlandish attempt to subvert the will of the people and
overturn the election results by delaying certification of votes lawfully cast.
Plaintiffs’ wholly unsubstantiated request for a preliminary injunction should be

denied forthwith. See Bradley v. Pittsburgh Bd. of Educ., 910 F.2d 1172, 1176 (3d
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Cir. 1990) (“The applicable Federal Rule [of Civil Procedure 65] does not make a
hearing a prerequisite for ruling on a preliminary injunction.”); Shavei-Tzion v.
Cadles of Grassy Meadows, Inc., LLC, No. 3:17-0973, 2017 WL 2463171, *4 (M.D.
Pa. June 7, 2017) (denying request for preliminary injunction hearing where
“plaintiff's claim is highly unlikely to succeed based on substantive law .. . and
there is no factual basis to support the claims and the contention of irreparable
harm”).
CONCLUSION
For the reasons above, Plaintiffs have not established a right to preliminary

injunctive relief and their motion should be denied.

Dated: November 20, 2020

 

 

Respectfully submitted,
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CERTIFICATE OF SERVICE
I hereby certify that on November 20, 2020, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all parties who have appeared in
this action via the Court’s electronic filing system. Parties may access this filing

through the Court’s system.

/s/ Daniel T. Brier
